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AO 450 (Rev. 01/09) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                   District of South Carolina

Chalpin Realty SC LLC,                                         )            No. 4:22-cv-02651-JD
        Plaintiff(s),                                          )
                                                               )
vs                                                             )
                                                               )
Jersam Realty Inc,                                             )
        Defendant(s).                                          )

                  SECOND AMENDED SUMMARY JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

’ the plaintiff (name)__________________ recover from the defendant (name)______________ the amount of

___________dollars ($______), which includes prejudgment interest at the rate of _____%, plus postjudgment

interest at the date of _____%, along with costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name) _______ recover

costs from the plaintiff (name)________________.
U other:
Summary judgment is entered in favor of Plaintiff Chaplin Realty SC, LLC and against Defendant Jersam Realty,
Inc. Plaintiff is entitled to the One Million and 00/100 ($1,000,000.00) dollar downpayment currently held in
escrow, along with pre-judgment interest from June 22, 2022, to January 14, 2023, at an interest rate of 7.25%, and
from January 15, 2023, through September 26, 2023, at an interest rate of 11.25% for prejudgment interest in the
total amount of $119,006.85. Plaintiff Chalpin is awarded attorneys’ fees of twenty-five thousand, six-hundred
eighty-two and 00/100 ($25,682.00) dollars for Parker Poe and one hundred fifty-eight thousand, one hundred sixty
and 00/100 ($158,160.00) dollars for KMH, along with costs of five thousand and 00/100 ($5,0000.00) dollars
against Defendant Jersam. This case is dismissed with prejudice.

This action was (check one):
’ tried by a jury with Judge______________presiding, and the jury has rendered a verdict.

’ tried by Judge______________without a jury and the above decision was reached.

U decided by the Honorable Joseph Dawson, III, United States District Judge, who granted Plaintiff’s Motion for
Summary Judgment and Plaintiff’s Motion to Alter or Amend.

                                                              Robin L. Blume
                                                             CLERK OF COURT

                                                      By: s/Leah Gibbons, Deputy Clerk
October 2, 2024
